             Case 4:19-cr-00084-BMM Document 56 Filed 12/09/19 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                      Case No. CR-19-84-GF-BMM

                    Plaintiff,
       vs.                                                 ORDER

 ALBERTO GUILLEN-GORDILLO,
 OMERO BANDERAS-RODRIQUEZ,
 JOSUE BERMUDEZ-LOPEZ and
 SAMUEL VELASCO-TOVAR,
                   Defendants.


         Following the telephonic status conference held on December 5, 2019 (Doc.

52).

         IT IS HEREBY ORDERED that the Court will not provide interpreters for

the above-named defendants for their use at the depositions scheduled for

December 17 and 18, 2019. The United States Attorney will provide two certified

interpreters for their use at the depositions, pursuant to 18 U.S.C §1827(c)(2).

         Counsel for the above-named defendants may retain their own interpreters,

not to exceed the allotted amount pursuant to the Criminal Justice Act, §220.10
       Case 4:19-cr-00084-BMM Document 56 Filed 12/09/19 Page 2 of 2



Payment for Interpreters Appointed under the Criminal Justice Act and 18 U.S.C.

§3006A(e)(2)(A).


      DATED this 9th day of December, 2019.




                                       -2-
